AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                     MIDDLE District of TENNESSEE (Northeastern Division)

                   United States of America
                              v.                                           )
                        DERRICK LINDER                                     )
                                                                           )   Case No:       2:11-00003-03
                                                                           )   USM No: 20901-075
Date of Original Judgment:         March 18, 2013                          )
Date of Previous Amended Judgment:                                         )   Dumaka Shabazz
(Use Date of Last Amended Judgment if Any)                                     Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of x the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
            DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of              37 months is reduced to 33 months                             .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated March 18, 2013                                shall remain in effect.
IT IS SO ORDERED.

Order Date:            
                                                                                                       Judge’s signature


Effective Date:                                                       Kevin H. Sharp, Chief Judge, U.S. District Court
                     (if different from order date)                                                Printed name and title



           Case 2:11-cr-00003                 Document 291               Filed 03/12/15            Page 1 of 1 PageID #: 1034
